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              UNITED STATES DISTRICT COURT
                                   District of Kansas

UNITED STATES OF AMERICA,

                      Plaintiff,

               v.                                 Case No. 19-20052-01-JAR

FENG TAO,

                      Defendant.


       GOVERNMENT’S PROPOSED JURY INSTRUCTIONS

       The United States of America, by and through undersigned counsel, submits the attached

proposed jury instructions for the Court’s consideration. The parties have consulted and

exchanged proposed jury instructions, pursuant to the Court’s instructions, and D. Kan. R. 51.1.

However, the parties have been unable to agree upon any proposed instruction.

       The government will submit is objections to Defendant’s proposed jury instructions

separately.



                                                    Respectfully submitted,

                                                    /s/ Adam P. Barry
                                                    Adam P. Barry
                                                    Benjamin J. Hawk
                                                    Trial Attorneys
                                                    National Security Division
                                                    U.S. Department of Justice
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                                  /s/ Christopher Oakley
                                  D. Christopher Oakley
                                  Assistant United States Attorney
                                  United States Attorney’s Office for the
                                  District of Kansas




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 7th day of March, 2022, I caused the foregoing motion to be filed

with the Clerk of the Court, with a true and accurate copy provided to each counsel of record in the

case.

                                                       /s/ Christopher Oakley
                                                       D. Christopher Oakley




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